Case 6:16-CV-06117-C.]S-I\/|WP Document 50 Filed 02/26/18 Page 1 of 3

UNITED STATES DlSTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

WlLLIAM HOWELL,
QLD_E_K
Plaintiff,
16-CV-6117CJS
v.
MONROE COUNTY, et al.,
Defendants.

 

Plaintiff Williarn HoWell (“Howell”) having filed a motion for sanctions (Docket
# 46), defendants (except for Shahid Ali, N.P., against Whom Howell did not seek reliei)
(collectively, “Defendants”) having opposed the motion (Docket # 49), this Court having
reviewed the parties’ submissions, and oral argument having been conducted on February 22,
20]8, it is hereby

ORDERED that, for the reasons stated more fully on the record on February 22,
2018, plaintiffs motion for sanctions (Docket # 46) is GRANTED in PART, DENIED in
PART, and RESERVED in PART, lt is further

ORDERED that, on or before March 8, 2018, in accordance with the Court’s
guidance during the proceedings, Defendants are directed to supplement their responses to
Document Requests Nos. 23, 33, 37, and 40. If additional documents responsive to the requests
exist, they must produce such documents by March 8, 2018 ; if no additional responsive
documents exist, they must certify in Writing by March 8, 2018 that a diligent search for l
responsive documents has been conducted and no additional responsive documents have been

located. Any such certification should also indicate Whether any responsive documents existed

Case 6:16-CV-06117-C.]S-I\/|WP Document 50 Filed 02/26/18 Page 2 of 3

but were lost or destroyed subsequent to the service of the document requests With respect to
Document Request No. 23, Defendants are directed to provide a list of responsive lawsuits,
including the relevant court name and docket number. lt is further
ORDERED that, on or before March 22, 2018, in accordance with the Court’s
guidance during the proceedings, Defendants are directed to supplement their responses to
Document Requests Nos. 1, 2, 3, 6, 13, 16, 17, 19, 24, 25, 26, 28, 30, 36, 39, 42, and 44. lf
additional documents responsive to the requests exist, they must produce such documents by no
later than l\/Iarch 22, 2018; if no additional responsive documents exist, they must certify in
writing by no later than March 22, 2018 that a diligent search for responsive documents has been
conducted and no additional responsive documents have been located. Any such certification
should also indicate whether any responsive documents (including requested video and audio
recordings) existed but were lost or destroyed subsequent to the service of the document
requests. Specific instructions for certain requests are as follows:
a) With respect to Document Request No. 6, in accordance with the
understandings placed on the record during the proceedings, Defendants are
directed to search for responsive documents for the period September 1, 2013
through February 1, 2014, and confer with plaintiff regarding the results of the
search and the production of any responsive documents;
b) With respect to Document Requests Nos. 13, 24, 25, and 30, in accordance
with the understandings placed on the record during the proceedings,
Defendants shall search for responsive policies and protocol manuals and
confer with plaintiffs counsel to arrange for the copying and production, at
plaintiffs reasonable expense, of the entirety of any manuals identified;
c) With respect to Document Request No. 19, Defendants are directed to search
for and produce Cl\/IC’s Articles of lncorporation and documents reflecting
Cl\/lC ownership and stock distributions between December l, 2013 and May

1, 2014, as well as the most current information;

d) With respect to Document Request No. 28, plaintiff is directed to promptly
provide to Defendants’ counsel the information referenced during the

Case 6:16-cv-06117-C.]S-|\/|WP Document 50 Filed 02/26/18 Page 3 of 3

proceedings, and Defendants are directed to search for and produce any
responsive documents;

e) With respect to Document Request No. 36, Defendants shall search for and
produce any responsive documents lf no responsive documents exist,
Defendants must certify that a diligent search has been conducted and
describe the steps undertaken to search for and identify responsive documents;
and
f) With respect to Document Request No. 42, Defendants are directed to search
for and produce any documents responsive to the request in accordance with
the Court’s direction and guidance regarding the scope of this request
provided during the proceedings
lt is further
ORDERED that, in accordance with the parties’ understandings placed on the
record during the proceedings, that Document Request No. 29 is withdrawn without prejudice
to plaintiffs service of additional requests relating to this topic. lt is further
ORDERED, that Defendants’ counsel contemporaneously provide to this
Court copies of any supplemental Written responses required by this Order. lt is further
ORDERED, that the portion of plaintiff s motion (Docket # 46) which seeks
sanctions is RESERVED.

IT IS SO ORDERED.

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MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
February Q,Q> , 2018

